              Case 1:19-cv-00957 Document 5 Filed 04/04/19 Page 1 of 4



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

JASON LEOPOLD,                                         )
BUZZFEED INC.,                                         )
                                                       )
       Plaintiffs,                                     )
                                                       )
       v.                                              )       Case No. 19-cv-957
                                                       )
U.S. DEPARTMENT OF JUSTICE,                            )
DOJ OFFICE OF ATTORNEY GENERAL,                        )
DOJ DEPUTY ATTORNEY GENERAL,                           )
DOJ OFFICE OF SPECIAL COUNSEL,                         )
                                                       )
       Defendants.                                     )

    PLAINTIFFS’ COMBINED MOTION FOR PRELIMINARY INJUNCTION AND
                          MEMO IN SUPPORT

       In a suit against the government, a plaintiff is entitled to a preliminary injunction where

(1) the plaintiff is likely to succeed on the merits; (2) the plaintiff is likely to suffer irreparable

harm; and (3) the injunction is in the public interest. E.g. Nken v. Holder, 556 U.S. 418, 435

(2009); Sherley v. Sebelius, 644 F.3d 388, 392 (D.C. Cir. 2011). Applying those requirements

here, this Court should enter a preliminary injunction requiring Defendants to process Plaintiffs’

FOIA request for the Mueller Report and produce all non-exempt portions of the Report by April

18, 2019. See Elec. Privacy Info. Ctr. v. Dep't of Justice, 416 F. Supp. 2d 30, 35 (D.D.C. 2006)

(“On numerous occasions, federal courts have entertained motions for a preliminary injunction in

FOIA cases and, when appropriate, have granted such motions.”); see also Payne Enters. v.

United States, 837 F.2d 486, 494 (D.C. Cir. 1988) (“[U]nreasonable delays in disclosing non-

exempt documents violate the intent and purpose of the FOIA, and the courts have a duty to

prevent [such] abuses.”).
                 Case 1:19-cv-00957 Document 5 Filed 04/04/19 Page 2 of 4



                              I.      FACTUAL BACKGROUND

        As set forth in Plaintiffs’ Complaint and its attached exhibits, Plaintiffs requested a copy

of the Mueller Report under FOIA on March 21, 2019. On March 29, 2019, Defendants granted

Plaintiffs’ request for expedited processing and Attorney General Barr announced that he would

publicly release a version of the Report subject to the redaction of four specific categories of

information. Under the presumptive processing deadline for expedited requests, Defendants

should produce the Report by April 18, 2019. Instead, Defendants asserted an open-ended

extension beyond the ten additional business days it claimed to be allowed by the statute, and

even though that ten-day extension is applicable to non-expedited requests. And the only reason

articulated by Defendants for all of this is that the Report is not physically located in the Office

of Information Policy, which is the entity Defendants claim to be processing the request for

them.

           II.      PLAINTIFFS ARE LIKELY TO SUCCEED ON THE MERITS

        Under established law, when expedited processing has been granted, the request must be

processed “as soon as practicable,” and there is a rebuttable presumption that it must be

processed within the statute’s default 20-business-day deadline. DOJ FOIA Guide, Procedural

Requirements, at 39 1; Elec. Privacy Info. Ctr., 416 F. Supp. 2d at 38-39 (rejecting “DOJ’s

argument that FOIA grants an agency unfettered discretion to determine when to process

expedited requests”); see also Elec. Frontier Found. v. Office of the Dir. of Nat'l Intelligence,

542 F. Supp. 2d 1181, 1186 (N.D. Cal. 2008).

        Contrary to this requirement, Defendants have asserted an open-ended delay in

processing the request and releasing the Report. Thus, Defendants must rebut the presumption


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  Available at https://www.justice.gov/sites/default/files/oip/legacy/2014/07/23/procedural-
requirements.pdf (last accessed April 3, 2019).


                                                -2-
             Case 1:19-cv-00957 Document 5 Filed 04/04/19 Page 3 of 4



with “credible evidence that disclosure within such time period is truly not practicable.” Elec.

Privacy Info. Ctr., 416 F. Supp. 2d at 39 (rejecting attempted rebuttal where DOJ asserted that

request was “broad” and involved classified documents). Yet the only “evidence” Defendants

have offered is that the Report is located in a different DOJ office than OIP, which is allegedly

processing the request. This, according to Defendants, constitutes “unusual circumstances”

justifying its open-ended delay.

       Defendants’ contention misconstrues the statutory extension for regular requests as

applicable to this expedited request and then claims the right to a still-further and unspecified

extension “beyond” that deadline. This is not what the statute provides. But even stepping back

from the technical provisions of FOIA, Defendants are essentially saying that they cannot

process and produce the Mueller Report within 20 business days because the Report is located in

another DOJ office. This is inadequate for two reasons:

       First, it is the Attorney General’s Office that is reviewing the Report to determine

applicable redactions, according to Mr. Barr’s March 29 letter to Congress. Thus, there is no

need for “a search in another office,” as claimed in the denial letter: the Report exists in the same

office that is reviewing it. And second, even if OIP was reviewing the Report instead of the

Attorney General, it is implausible in the extreme that it is “truly not practicable” for OIP

personnel to obtain a copy of the Report or review it wherever in DOJ it is located.

               III.    PLAINTIFFS WILL SUFFER IRREPARABLE HARM

       In properly granting Plaintiffs’ request for expedited processing, Defendants have

conceded that there is an “urgency to inform the public” about the contents of the Mueller

Report. Because “timely public awareness” is a “structural necessity in a real democracy,” there

can be no dispute that Plaintiffs and the public will suffer irreparable harm from Defendants’




                                                -3-
             Case 1:19-cv-00957 Document 5 Filed 04/04/19 Page 4 of 4



planned open-ended delay in releasing the Report, particularly in light of the “current and

ongoing debate” surrounding the Report. See Elec. Privacy Info. Ctr., 416 F. Supp. 2d at 40-41.

  IV.     THERE IS A STRONG PUBLIC INTEREST IN PROMPT RELEASE OF THE
                                 REPORT

        Finally, there can also be no dispute that the public interest element is met in this case.

The public interest in “an agency’s faithful adherence to its statutory mandate” alone is

sufficient, but the Report has clearly garnered “great public and media attention,” such that “the

public interest is particularly well-served by the timely release” of the Report. Elec. Privacy

Info. Ctr., 416 F. Supp. 2d at 42.

                                     V.     CONCLUSION

        For these reasons, Plaintiffs’ motion for preliminary injunction should be granted and the

Report should be ordered released, subject to redaction of any exempt material, by April 18,

2019.


DATED: April 4, 2019


                                                     Respectfully Submitted,

                                                     /s/ Matthew Topic

                                                     Attorneys for Plaintiffs

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